         3:22-bk-70129 Doc#: 48 Filed: 04/13/22 Entered: 04/13/22 10:36:45 Page 1 of 1

Form nhrg
                                    UNITED STATES BANKRUPTCY COURT

                                              Western District of Arkansas


In Re:      Billy G Scallorn
            Debtor
                                                                                   Case No.: 3:22−bk−70129
                                                                                   Chapter: 13
                                                                                   Judge: Bianca M Rucker

PLEASE TAKE NOTICE that a Hearing has been scheduled before Judge Bianca M Rucker at

U.S. Federal Building, 35 E. Mountain St., 4th Floor, Room 416, Fayetteville, AR 72701

on 5/18/22 at 09:00 AM

to consider and act upon the following:

47 − Motion to Dismiss Bankruptcy Case Filed by Lindsey Emerson Raines on behalf of CS Bank f/k/a Cornerstone
Bank (Raines, Lindsey)


Attorneys are directed to contact the Courtroom Deputy as soon as possible prior to hearing if this matter will require
more than 15 minutes to be heard.

If you will be introducing exhibits, please bring a copy for the staff attorney.

If a matter scheduled for hearing by this notice is a contested matter under Fed. R. Bankr. P. 9014, parties are hereby
notified, in accordance with Fed. R. Bankr. P. 9014(e), that the scheduled hearing will be an evidentiary hearing at
which witnesses may testify.



Dated: 4/13/22
                                                        Linda McCormack, Clerk
                                                        By:
                                                        Angie R. Carter
                                                        Deputy Clerk
